         Case 1:17-cr-00078-SPW Document 88 Filed 12/12/17 Page 1 of 1

                                                                                           FILED
              IN THE UNITED STATES DISTRICT COURT                                             DEC 12 2017
                                                                                         Clerk, U S District Court
                                                                                           District Of Montana
                                                                                                  Btllings
                     FOR THE DISTRICT OF MONTANA

                         *******************

UNITED STATES OF AMERICA

              vs.

JOSEPH ALAN NYHART                     No. CR 17-78-BLG-SPW-04

DOB: _ _19_8_2_ __                            PETITION TO OPEN JUVENILE RECORDS

SSN:    XXX-XX-3092

Whereas the above-name defendant entered a plea of Guilty to the offense of Prohibited Person in
Possession of a Firearm in violation of 18 U.S.C. § 922(g)(l) and (3) in the United States District
Court for the District of Montana, the Petitioner requests all juvenile records pertaining to the
Defendant, including law enforcement, County Probation, County Welfare, Department of
Corrections records, and any records of alcohol, drug and mental health treatment, be made available
for the purpose of preparing a Presentence Investigation Report for the Court.


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                                                     U.S. Prohlition Officer

                                                     December 12, 2017
                                                     Date

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                                             ORDER
                                        **********
THE COURT HAVING CONSIDERED THE AFOREMENTIONED PETITION does hereby order
the release of pertinent juvenile records held by any law enforcement agency, Probation Office,
Welfare Agency, or Department of Corrections to the Petitioner or authorized agency of the United
States Probation Office for the purpose of preparing aP sentence Investigation Report for the Court.




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Dated this /d       day of    ~6«,-2017.
